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U.S,. Deiiartment oi` l'Iomeland Security
Washington, i.)t` 20523

  

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June 22, 2018
MEMORANDUM FROM SECRETARY KIRSTJEN M. NIELSEN

On September 5, 2017, Acting Secretary of Homeland Security Elaine C. Duke issued a
memorandum (the “Duke memorandum”) rescinding the enforcement policy known as Deferred
Action for Childhood Arrivals (DACA). Acting Secretary Duke concluded that, ‘“[t]aking into
consideration the Supreme Court’S and the Fifth Circuit’s rulings in the ongoing litigation [over
the enforcement policy known as Deferred Action for Parents of Americans and Lawful
Permanent Resideuts (DAPA)], and the Septernber 4, 2017 letter from the Attorney General
[concerning DACA], it is clear that the June 15_, 2012 DACA program should be
terminated.” Accordingly, “in the exercise of [herj authority in establishing national
immigration policies and priorities,” she “rescind[ed] the June 15, 2012 memorandum,” subject
to certain exceptions

On April 24, 2018, the U.S. District Court for the District of Colurnbia held that the Duke
memorandum was subject to judicial review under the Adniinistrative Procedure Act and that it
provided insufficient justification for rescinding the DACA policy. The court vacated the Duke
memorandum and remanded to the Department of Homeland Security (DHS). The court issued a
90-day stay of vacatur, however, to afford DHS an opportunity to provide further explanation for
rescinding the DACA poiicy.

Because the D.C. district court has requested further explanation, 1 am providing such
explanation here. Having considered the Duke memorandum and Acting Secretary Duke’s
accompanying statement, the administrative record for the Duke memorandum that Was
produced in litigation, and the judicial opinions reviewing the Duke memorandum_, l decline to
disturb the Duke memorandum’s rescission of the DACA policy, and it is my understanding that
the Department of Justice Will continue to seek appellate review of preliminary injunctions that
restrict DHS from implementing the Duke memorandum and rescinding the DACA policy. 'I`his
explanation reflects my understanding of the Duke memorandum and Why the decision to rescind
the DACA policy was, and remains, sound

The Secretary of Homeland Security is vested With authority over “the administration and
enforcement” of the immigration laws, 8 U.S.C. § 1103(a)(1), including the discretion to
“[e]stablish[ ] national immigration enforcement policies and priorities,” 6 U.S.C. § 202(5). The
DACA policy of deferred action was cast as an exercise of enforcement discretion to forbear
from removing a certain class of aliens Who are subject to removal under law. DHS also had
concluded that under pre-existing statutory and regulatory provisions a grant of deferred action
would trigger certain collateral benefits for such aliens, such as eligibility for employment
authorization In considering how DHS’s discretion to establish enforcement policies and
priorities should be exercised, the DACA policy properly was_and should be-rescinded, for
several separate and independently sufficient reasonsl

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First, as the Attorney General concluded, the DACA policy was contrary to law. The
Fifth Circuit ruled that DAPA should be enjoined on a nationwide basis on the ground, among
other things, that it likely was contrary to the statutory scheme of the lmrnigration and
Nationality Act (INA). As the Fif`th Circuit held, “the INA does not grant the Secretary
discretion to grant deferred action and lawful presence on a class-wide basis to 43 million
otherwise removable aliens.” Texas v. Um'ted States, 809 F.3d 134, 186 n.202 (5th Cir. 2015).
An equally divided Supreme Court affirmed that decision ln light of those decisions and other
factors, Secretary Keliy rescinded the DAPA policy in June 2017. Any arguable distinctions
between the DAPA and DACA policies are not sufficiently material to convince me that the
DACA policy is lawful.

The memorandum announcing the DAPA policy both expanded the DACA policy by
loosening the age and residency criteria and adopted a similar deferred action policy for parents
of U.S. citizens and lawful permanent residents The Fifth Circuit’s rejection of DAPA and
expanded DACA did not turn on whether the covered aliens had a pathway to lawful status
(which not all of them had). Rather, it turned on the incompatibility of such a major non-
enforcement policy with the lNA’s comprehensive scheme The Attorney General concluded
that the DACA policy has the same statutory defects that the Fifth Circuit identified with
DAPAW-a determination and ruling by the Attorney General that, in any event, l am bound by
pursuant to 8 U.S.C. § 1103(a)(1).

Second, regardless of whether the DACA policy is ultimately illegal, it was appropriately
rescinded by DHS because there are, at a minimum, serious doubts about its legality. A central
aspect of the exercise of a discretionary enforcement policy is a judgment concerning whether
DHS has sufficient confidence in the legality of such policy. Lil<e Acting Secretary Duke, l lack
sufficient confidence in the DACA policy’s legality to continue this non~enforcement policy,
whether the courts would ultimately uphold it or not.

There are sound reasons for a law enforcement agency to avoid discretionary policies that
are iegally questionable Those reasons include the risk that such policies may undermine public
confidence in and reliance on the agency and the rule of law, and the threat of burdensome
litigation that distracts from the agency’s work. The fact that some courts have recently held or
Suggested that the DACA policy is legal does not change my view that the DACA policy’s
legality is too questionable to warrant continuing the policy, especially in light of the Attorney
General’s contrary determination and ruling about the DACA policy and the contrary implication
of the decisions of the Fifth Circuit Court of Appeals and the Supreme Court invalidating the
DAPA policy.

Third, regardless of whether these concerns about the DACA policy render it illegal or
legally questionable, there are sound reasons of enforcement policy to rescind the DACA policy.
To start, DHS should enforce the policies reflected in the laws adopted by Congress and should
not adopt public policies of non-enforcement of those laws for broad classes and categories of
aliens under the guise of prosecutorial discretion-particularly a class that Congress has
repeatedly considered but declined to protect. Even if a policy such as DACA could be
implemented lawfully through the exercise of prosecutorial discretion, it would necessarily lack
the permanence and detail of statutory law. DACA recipients continue to be illegally present,
unless and until Congress gives them permanent status

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Accordingly, l agree with Acting Secretary Duke and the Attorney General that if a
policy concerning the ability of this class of aliens to remain in the United States is to be
adopted, it should be enacted legislatively.

ln addition, DHS should only exercise its prosecutorial discretion not to enforce the
immigration laws on a truly individualized, case-by-case basis. While the DACA policy on its
face did allow for individual considerations a categorical deferred-action policy, at the very
least, tilts the scales significantly and has the practical effect of inhibiting assessments of
whether deferred action is appropriate in a particular case. Without the DACA policy, DHS may
consider deferred action on a case-by-case basis, consistent with the INA. l\/loreover,
considering the fact that tens of thousands of minor aliens have illegally crossed or been
smuggled across our border in recent years and then have been released into the country owing to
loopholes in our laws--and that pattern continues to occur at unacceptably high levels to the
detriment of the immigration system_-it is critically important for DHS to project a message that
leaves no doubt regarding the clear, consistent, and transparent enforcement of the immigration
laws against all classes and categories of aliens All of those considerations lead me to conclude
that Acting Secretary Duke’s decision to rescind the DACA policy was, and remains, sound as a
matter of both legal judgment and enforcement policy discretion

l do not come to these conclusions lightly. I am keenly aware that DACA recipients have
availed themselves of the policy in continuing their presence in this country and pursuing their
lives. Nevertheless, in considering DHS enforcement policy, l do not believe that the asserted
reliance interests outweigh the questionable legality of the DACA policy and the other reasons
for ending the policy discussed above. That is especially so because issues of reliance would
best be considered by Congress, which can assess and weigh a range of options ln contrast, the
DACA policy was announced as a temporary stopgap measure, not a permanent fix', it was
expressly limited to two-year renewal periods, it expressly conferred no substantive rights, and it
was revocable at any time. In my judgment, neither any individual’s reliance on the expected
continuation of the DACA policy nor the sympathetic circumstances of DACA recipients as a
class overcomes the legal and institutional concerns with sanctioning the continued presence of
hundreds of thousands of aliens who are illegally present in violation of the laws passed by
Congress, a status that the DACA non-enforcement policy did not change And in all events, the
rescission of the DACA policy does not preclude the exercise of deferred action in individual
cases if circumstances warrant.

For these reasons, in setting DHS enforcement policies and priorities, l concur with and
deciine to disturb Acting Secretary Duke’s decision to rescind the DACA policy.

 

 

